       Case 3:24-cv-01644-HNJ       Document 11      Filed 01/06/25    Page 1 of 1            FILED
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                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ALABAMA
                         NORTHWESTERN DIVISION

 UTOPIAN WIRELESS                            )
 CORPORATION,                                )
                                             )
        Plaintiff,                           )
                                             )    Case No. 3:24-cv-01644-HNJ
 v.                                          )
                                             )
 KENNETH KITTS, in his official              )
 capacity as President of the University     )
 of North Alabama, et al.,                   )
                                             )
        Defendants.                          )

                                      ORDER
       The docket sheet reflects Plaintiff served Defendant Kenneth Kitts and the

Alabama Attorney General on December 6, 2024, making Kitts’s answer due December

27, 2024. Plaintiff served Defendant William Trapp on December 9, 2024, making his

answer due December 30, 2024. (Doc. 8). To date, neither Defendant has filed an

answer, and Plaintiff has taken no action. The court therefore ORDERS Plaintiff to

file a status report or take other appropriate action within seven (7) days from the entry

date of this order.

       DONE and ORDERED this 6th day of January, 2025.


                                                 ____________________________________
                                                 HERMAN N. JOHNSON, JR.
                                                 UNITED STATES MAGISTRATE JUDGE
